Case 2:03-cr-20337-.]Pl\/|-tmp Document 113 Filed 07/14/05 Page 1 of 5 Page|D 149

UN|TED STATES DlSTRlCT COURT
WESTERN DlSTRICT OF TENNESSEE
MEMPH|S DlVlSlON

FILED BY Q_D.G.
osJuLn. PH 1=39

UN|TED STATES OF AMER|CA mM

3 mm
-v- 2:03CR20337-01-M| CLEU’)%; BEng
BETTY DAV|S

Arthur E. guinn, CJA
Defense Attorney

1661 international P|ace Drive, #300
Memphis, TN 38120

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on Apri| 8, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tit|e & Section N§_f_lM§Q-S>£ Offense N_ur_nLe_r[§)
Conc|uded
18 U.S.C. § 922(g) Fe!on in Possession of Ammunition 12/03/2002 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until a||
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 09/20/1952 July 13, 2005
Deft’s U.S. Marshal No.: 13220-076

Defendant’s lVlai|ing Address:

3529 Kruger
Nlemphis, TN 38108

PH|PPS McCALLA
UN|TE ATES DlSTR|CT JUDGE
July ¢\( , 2005

Thls document entered on the docket sheet ln compliance
with ama 55 and/oraz(b) mch on ~ 'O

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Case No: 2:030R20337-01-M| Defendant Name: Betty DAV|S Page 2 of 4

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 16 Months (or 1 Year and 4 Months).

The defendant is remanded to the custody of the United States Marsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district withoutthe permission of the court or probation officer;

2. The defendant shall report to the probation ocher as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthfui all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohot and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ofhcer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so!d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofhcei';

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:03CR20337-01-M| Defendant Name: Betty DAV|S Page 4 of 4
law enforcement ocher;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Pena|ties sheet of this judgment

ADD|T|ONAL CONDlTlONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Oftice.

2. The defendant shall submit to mental health testing and mental health treatment programs
as directed by the Probation Office.

3. The defendant shatl cooperate with DNA collection as directed by the Probation Office.

CR|M|NAL MON ETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Tota| Assessment Tota| Fine Total Restitution
$100.00 `

The Specia| Assessrnent shali be due immediately

FINE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

   

UND11E STAES D1STR1C COURT - WESTRNE DISRTOF TNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 113 in
case 2:03-CR-20337 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

 

Arthur E. Quinn

THE BOGATIN LAW FIRM
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David Pritchard

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167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

.1 ohn Thomas Tibbetts

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Honorable .1 on McCalla
US DISTRICT COURT

